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       UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                       DCO-090
                                     No. 22-8032


                            IN RE: LOUIS N. DELLOSO,
                                      Debtor

                       Strategic Funding Source, Inc. d/b/a Kapitus,
                                           Petitioner

               (D. Del. No. 1-22-cv-00462; Del. Bankr. No. 16-10832)


Present: JORDAN, PORTER, and MATEY, Circuit Judges

      1. Petition for Permission to Appeal pursuant to 28 U.S.C. Section 158(d)(2) filed
         by Petitioner Strategic Funding Source Inc.

      2. Response filed by Respondent Louis N. Delloso

                                                      Respectfully,
                                                      Clerk/lmr

_________________________________ORDER________________________________

      The foregoing motion is granted.


                                                      By the Court,

                                                      s/ Paul B. Matey
                                                      Circuit Judge

Dated: August 4, 2022
Lmr/cc: All Counsel of Record




                                                A True Copy :



                                                     Patricia S. Dodszuweit, Clerk
